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                 IN THE U.S. DISTRICT COURT OF CONNECTICUT
                                   at Hartford


JOHN SAKON
NFOWS                                              ADA Discrimination
              Petitioners
V                                                  Jury Trial Demanded

STATE OF CONNECTICUT                               Case:
TAMMY NGUYEN-O'DOWD
                                                                          . MfW 9 2023 Pi-11:28
LEO DIANA                                                               FlLED-U'3DC-CT -HARTFO~:O
ROBERT NASTRI
 in official and individual capacities
             Defendants

                                      COMPLAINT
     Plaintiff John Sakon and next friend, minor son OWS, bring claim for relief

against defendants for conspiracy in deprivation of rights under color of state law,

in violation of Americans With Disabilities Act, Title II; brought under 42 USC

§ 1985 action, Third Enforcement Act of 1871, Ku Klux Klan Act, a federal remedy

for deprivation federal civil rights protections, so committed by conspiracy of the

State and its employees, a politic holding burden under ADA for compliance,

failure of which is cause for suit.

                                 NATURE OF ACTION
    The plaintiff-father is a qualified individual, under ADA, victim of retaliation and

discrimination at the hands of defendants Nguyen, Diana, Nastri, employees of the

State of Connecticut, in administration of state services of visitation incidental to

divorce. The defendants conspire to violate ADA anti-discrimination protections in


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issuing and enforcing discriminatory orders violating federal rights of plaintiff-

father and son by association. The suit is brought after willful refusal by

defendant Nastri to remedy discriminatory conduct, where fair notice given of

federal action by plaintiff nor non-compliance, summarily rejected by Nastri, an

act of conspiracy.

                           JURISDICTION AND VENUE
  This court has jurisdiction over the subject matter and the parties pursuant to

28 USC §§1331, 1343, 2201, and 2202. Plaintiffs bring suit under Title II of the

Americans with Disabilities Act of 1990 ("ADA"), as amended, 42 USC. §12101, et

seq. Supplemental jurisdiction under 28 USC §1367. Venue is proper pursuant to

28 USC §1391(b)(2), (c).

                                      PARTIES
   Plaintiff John Sakon, a qualified individual, under the ADA, recipient of state

public service of regulated parental visitation incidental to divorce. OWS is

Sakon's minor son, a victim of discrimination, by association, both Connecticut

residents.

  Defendant, State of Connecticut, an entity covered under Title II of the ADA,

federally obligated for compliance, named in suit for failure to train employees or

assure compliance, as required under the act, named defendant should USDOJ

join suit, as allowed for federal enforcement by the Act.




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  Defendants Nguyen, Diana, Nastri, state employees, judges of Superior Court,

engaged in prohibited discrimination; deprivation of federal rights, acting in

conspiracy to deprive rights. Prohibited conduct outside judicial job function voids

any claim of immunity.

                                      FACTS
   The State of Connecticut, acting thru family court, agents Nguyen, Diana,

Nastri, violate Americans with Disabilities Act, Title II, which prohibits

discrimination against qualified individuals and associated persons, in providing

state services. It is Connecticut's burden to comply with the Act. Conduct by

defendants of holding hearing to decide if it is in violation of the Act is itself a

violation. All evidence of non-compliant service orders contained in Nguyen's

memo of decision of July '22, before Diana in April '23, and Nastri in May '23 who

conspire in failure to address discrimination, prohibited by the Act. Nastri refuses

to address non-compliance, given fair warning by plaintiff of complaint in federal

court for relief. The defendants incur state liability, subjecting the politic to

USDOJ enforcement action, under, 28 CFR §35.190(b)(6), where no immunity lies.

    Judge Nguyen ruled father-defendant suffers from mental impairment,

requiring 'treatment', denying access to his son, a fundamental liberty interest,

being discriminatory conduct based on disability; a civil rights violation under

federal law, actionable in federal court under 42 USC §§ 1983, 1985, Third

Enforcement Act of 1871, for violation of the Fourteenth Amendment. Defendants


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violate 28 CFR §35.130 Prohibitions against discrimination. See Pennsylvania v.

Yeskey, 524 U.S. 206, 209-212 on breadth of Title II coverage.

  The defendants discriminates against plaintiff OWS by association to disabled

plaintiff-father, denying the child constitutionally protected paternal relationship,

a fundamental liberty interest, in absence of strict scrutiny requirements under

substantive due process clause of the Fifth Amendment, see Troxel v Granville,

530 US 57, 65. Defendants' violation obvious. Broad discretion of the court

assumed in Yontef v Yontef, 185 Conn 275, 279 does not void Fourteenth

Amendment, nor State's burden for compliance to the Act. Discrimination against

plaintiff-son for cause-of association with disabled plaintiff-father violates 28 CFR

§35.130(g): A public entity shall not exclude or otherwise deny equal services,

programs, or activities to an individual or entity because of the known disability of

an individual with whom the individual or entity is known to have a relationship

or association.

   Nguyen prohibits visitation while stripping plaintiff-father of custody absent

required finding under 28 CFR §35.139 Direct Threat, (b) where no assessment

based on medical knowledge made to ascertain nature, duration, severity of risk,

or probability of injury; a due process failure; said violation upheld by co-

conspirators Diana and Nastri. State child protection agency found no threat to

plaintiff-son by plaintiff-father, a fact known to the conspirators. Defendants'




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discrimination fails ADA's basic requirement for individualized inquiry, relying

solely on generalizations and stereotypes regarding people with disabilities.

   Defendants' conduct is unconstitutional by vagueness where court holds no

proper diagnosis of a mental defect, no evidence of conditional harm to the child,

no specifics of treatment, no qualification of treator, no protocol of 'therapeutic', no

measure of efficacy, no standard of care. Visitation orders fail strict scrutiny

requirements of parental protection under substantive due process clause of Fifth

Amendment, imposed on states by Fourteenth. See Troxel, supra. It is State duty

under the Act to remedy misconduct of defendants by administrative procedure

which was denied by state agent Melanie Buckley, in April '23, with direction to

seek federal relief. The public entity fails ADA compliance, denying remedy thru

administrative means, 28 CFR §35.107 (b), failing to provide 'prompt and

equitable resolution'.

  Defendants violate State fiduciary responsibility in use of federal grant money,

warranted by the Governor not to be used in deprivation of rights, discrimination,

violation of federal law, 45 CFR §84.5 Assurance, as the defendants' agency is user

of such funds, received on behalf of the State. See 45 CFR § 84.4 Discrimination

prohibited with federal financial assistance; 45 CFR §84.61 Procedure Civil Rights

remedy. See also 2 CFR § 200.415, Required certifications.

      Defendants     violate   Canon   2.3(b)   by   conduct   manifesting   prejudice,

discrimination based on disability, while condoning court orders in violation of

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ADA, beyond judicial function, in defiance of the Fourteenth Amendment, being

criminal conduct under Enforcement Act, 18 USC §241, for which no immunity

lies. Defendants are guilty of acting in violation of federal law, obstructing

execution of the Act, by conduct under color of State authority, being disobedient

to supreme authority of the land, defendants hold no shield nor defense from U.S.

judicial power, by conduct, defendants conflict with superior authority submit

themselves to consequences of their actions, for which the State cannot impart

immunity. See In Re Ayers, 123 U.S. 443, 607 (1887), also Atascadero State Hosp.

v. Scanlon, 473 U.S. 234, 242 (1985).

    Discrimination by the public entity, acting thru conspirmg defendants,

discriminating against plaintiffs, being violation of ADA. Defendants claim a

mental defect/personality disorder to deny fundamental liberty interests of

plaintiffs, where public entity labels plaintiff-father a 'qualified individual' under

the ADA, then cites disability to deny liberty; discriminatory conduct prohibited by

the ADA; 28 CFR §35.130. Discrimination extending against the child, for his

relationship with a qualified individual, a deprivation of fundamental liberty
          familial companionship
interest in            , so proscribed by the ADA; 28 CFR §35.130(g).

                                   CLAIM FOR RELIEF
  Plaintiffs, being victims of discrimination in violation of ADA, claim injunctive

and declaratory relief, compensatory and punitive damages, fees, costs. The §1985

nature of the complaint, under Ku Klux Klan Act of 1871, requires the district


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court to take enforcement action against offending state actors, assuring

compliance with protections afforded citizens by federal law. ADA, Title II,

compliance enforcement being federal court duty. Plaintiffs claim declaratory

judgment that public service provided by defendants violates ADA and protections

of the Fourteenth Amendment, that injunctive relief is necessary to arrest the

decree violating ADA and civil rights of plaintiffs. Plaintiffs claim the public entity

systematically conspires to violate ADA in similar decrees, whereby--------------------

---- parents and children suffer discrimination, as in the instant matter, in

violation of ADA, by conspiracy of unscrupulous state actors, under color of state

law, where culpably negligent persons fail to arrest deprivation of rights, invoking

liability under 42 USC §1986; that defendant State uses federal funds m

administration of ADA non-compliant services, being fraud, in violation of

Governor's warranty against use for impropriety or deprivation of rights.




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                              PRAYER FOR RELIEF
WHEREFORE, plaintiff requests this court:

  1. Enjoin defendants from unlawful discrimination complained herein.

  2. Provide injunctive relief against decree that violates ADA, fails due process,

     discriminates against plaintiffs.

  3. Award compensatory and punitive damages as determined by jury.

  4. Award reasonable costs and fees.

  5. Other such proper relief.

  6. Court to invoke enforcement authority for the Fourteenth Amendment upon

     the State, appoint overseer to audit defendants' ADA compliance.

                                 JURY DEMAND
 Plaintiff demands jury trial of all claims and causes of action.



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9 May 2023                                       John Sakon




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